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 1   A Limited Liability Partnership
     Including Professional Corporations
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 3 San Francisco, California 94111-4106
   Telephone:    415-434-9100
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 5 Attorneys for Defendant
     JOHN BREWER
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                          Case No. 2:16-CR-0239 MCE
11
                           Plaintiff,
12                                                      DEFENDANT JOHN BREWER’S
             v.                                         WAIVER OF APPEARANCE
13
     JOHN BREWER,
14 BRENT VINCH, and
     LORAINE DIXON
15
                           Defendants.
16
17
18
19           Pursuant to Fed.R.Crim.P. 43, defendant, John Brewer, hereby waives the right to be
20 present in person in open court upon the hearing of any motion or other proceeding in this case,
21 including, but not limited to, when the case is set for trial, when a continuance is ordered, and
22 when other action is taken by the Court before or after trial, except upon arraignment, entry of
23 plea, and every stage of trial including verdict, empanelment of jury and imposition of sentence.
24           Defendant hereby requests the Court to proceed during every absence of his which the
25 Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
26 at all times by the presence of his attorney, the same as if the defendant were personally present.
27 Defendant further agrees to be present in Court ready for trial any day and hour the Court may fix
28 in his absence.
                                                     -1-
     SMRH:483303265.1                            DEFENDANT JOHN BREWER’S WAIVER OF APPEARANCE
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 1           The defendant further acknowledges that he has been informed of his rights under Title 18

 2 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and delays
 3 without his personal appearance.
 4
 5 Dated: June 29, 2017
 6
 7                                       By:                        /s/ John Brewer
                                                                    JOHN BREWER
 8                                                            (Original retained by attorney)

 9
10           I concur in John Brewer’s decision to waive his presence at future proceedings.
11
     Dated: June 29, 2017                Respectfully submitted,
12
13                                       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

14
                                         By:                  /s/ Michael W. Scarborough
15                                                          MICHAEL W. SCARBOROUGH
16                                                                 Attorneys for Defendant
17                                                                    JOHN BREWER

18
             IT IS SO ORDERED.
19
20 Dated: July 11, 2017
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     SMRH:483303265.1                           DEFENDANT JOHN BREWER’S WAIVER OF APPEARANCE
